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                          United States District Court
                                   Eastern Dis rict of Texas
                                      Sherman Division

   UNITED STATES OF AMERICA

   v.

                                                          No. 4:20-CR-355
   JAMES CLARK NIX                                        Judge Mazzant


                                 VERDICT OF THE JURY

         We, the Jury find as follows:

                                         COUNT ONE

         As to the offense charged in Count One of the Third Superseding Indictment,

   conspiracy to commit wire fraud, we, the Jury, find Defendant James Clark Nix:



                       Guilty                     Not Guilty




                                         COUNT TWO

         As to the offense charged in Count Two of the Third Superseding Indictment, wire

   fraud, we, the Jury, find Defend nt James Clark Nix:


                       Guilty                     Not Guilty




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                                       COUNT THREE

          As to the offense charged in Count Three of the Third Superseding Indictment,

    money laundering, we, the Jury/find Defendant James Clark Nix:


                        Guilty                     Not Guilty




                                        COUNT FOUR

          As to the offense charged in Count Four of the Third Superseding Indictment,

   money laundering, we, the J r , find Defendant James Clark Nix:

    iv
                        Guilty                     Not Guilty




          Now proceed to have the Foreperson initial in the space provided and date this

   Verdict Form as the verdict of the Jury.




   Foreperson s Initials:                                Date:




                                              2
